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SOUTHERN DISTRICT OF NEW YORK”

 

 

In re Terrorist Attacks on September 11, 03 MDL 1570 (GBD)(SN)
2001 ECF Case

 

 

 

This document relates to:

Ashton et al. v, al Qaeda Islamic Army, et al, 02-cv-6977 (GBD)(SN) (and member case

Marie Laure Anaya, et al. v, Islamic Republic of Tran, 1:18-cv-12341 (GBD) (SN)))
SEE ORDER OF PARTIAL FINAL DEFAULT JUDGMENTS

Upon consideration of the evidence and arguments submitted by Plaintiffs in the above-
captioned Marie Laure Anaya, et al. v. Islamic Republic of Iran, [:18-cv-12341 (GBD) (SN) (the
“Anaya Plaintiffs”) through their Motion for (1) Judgment by Default as to Liability of the
Islamic Republic of Iran pursuant to 28 U.S.C. § 1605A(c), and (2) Partial Final Judgments for
Solatium and Pain and Suffering Damages for Certain Plaintiffs, and the evidence filed in the
above-captioned multidistrict litigation on May 19, 2011, July 13, 2011 and August 19, 2011,
and the evidence presented at the December 15, 2011 hearing on liability, together with the
entire record in this case, it is hereby;

ORDERED that Anaya Plaintiffs, except Tracy Anne Larkey, individually and as
Personal Representative of the Estate of Robin Blair Latkey, Nicholas Blair Larkey, Oliver
Robin Larkey, and William James Larkey, having established their claims against the Islamic
Republic of Iran under 28 U.S.C. Section 1605A(c) by evidence satisfactory to the Court and
there being no just reason for delay, their Motion for Judgment by Default Against the Islamic
Republic of Iran is hereby GRANTED and partial final judgment on liability is entered in favor

of Anaya Plaintiffs except Tracy Anne Larkey, individually and as Personal Representative of
the Estate of Robin Blair Larkey, Nicholas Blair Larkey, Oliver Robin Larkey, and William
James Larkey and against the Islamic Republic of Iran; and it is

ORDERED that, there being no just reason for delay, partial final judgment is entered
against the Islamic Republic of Iran and in favor of those Anaya Plaintiffs identified in the
attached Exhibit A, who are cach the spouse, parent, child, sibling, or the estate of a parent or
child, of an individual killed in the terrorist attacks on September 11, 2001, for solatium damages
of $12,500,000 per spouse, $8,500,000 per parent, $8,500,000 per child, and $4,250,000 per
sibling as set forth in Exhibit A; and it is -

ORDERED that, there being no just reason for delay, partial final judgment is entered
against the Islamic Republic of Iran and in favor of those Anaya Plaintiffs identified in the
attached Exhibit B, who are each the personal representative of the estate of an individual killed
in the terrorist attacks on September It, 2001, for compensatory damages for the decedent’s pain
and suffering in the amount of $2,000,000 as set forth in Exhibit B; and it 1s

ORDERED that those Anaya Plaintiffs identified in the attached Exhibits A and B are
awarded prejudgment interest on the damages hereby awarded to be calculated at a rate of 4.96
percent per annum, compounded annually, running from September | 1, 2001 until the date of
this judgment, and it is

ORDERED that Plaintiffs identified in the attached Exhibits A and B may submit
applications for economic, punitive or other damages, to the extent such awards have not
previously been addressed, at a later date consistent with any future rulings of this Court; and it
is

ORDERED that Anaya Plaintiffs Donovan Lanham, Gary Lanham, and Jasmine

Lanham, who are each step-children of Michael W. Lowe who was killed in the terrorist attacks

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on September 11, 2001, may submit applications for judgments for solatium, punitive or other

damages at a later date.

Dated: New York, New York

Octobe 5, 2021

SO ORDERED:

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GRORGE/A. DANIELS
United States District Judge

 
         

      

                                                  

  

      

 

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Exhibit B

 

Personal Representative(s) and Estate

Decedent’s Citizenship
on September 11, 2001

Damages for
Pain & Suffering

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Helen L. Cothoun as Personal Representative of the United States $2,000,000
Estate of Liam Joseph Colhoun

Rita M. DaCosta as Personal Representative of the United States $2,000,000
Estate of Carlos DaCosta

Joseph Dimartino as Personal Representative of the United States $2,000,000
Estate of Deborah Ann Dimartino

Peter A. Dionisio and Lucille Dionisio as Personal United States $2,000,000
Representatives of the Estate of Anthony Dionisio, Jr.

John M. Galvin as Personal Representative of the United States $2,000,000
Estate of Thomas E. Galvin

Thomas Frank Getzendanner as Personal United States $2,000,000
Representative of the Estate of Susan Getzendanner

Deodat Guman as Personal Representative of the United States $2,000,000
Estate of Babita Girjamatie Guman

Donna M. Hall as Personal Representative of the United States | $2,000,000
Estate of Richard Boy Hall

Matthew J, Kauth and Ann Ferris as Personal United States $2,000,000
Representatives of the Estate of Don Jerome Kauth

Judith King as Personal Representative of the Estate United States $2,000,000
of Andrew Marshal King

Eileen R. Lee as Personal Representative of the Estate United States $2,000,000
of Gary H. Lee

Vivian Lanham-Lowe as Personal Representative of United States $2,000,000
the Estate of Michael W. Lowe

Mario Truglio as Personal Representative of the Estate United States $2,000,000
of Michael A, Marti

Carlo Notaro as Personal Representative of the Estate United States $2,000,000
of Daniela R. Notaro

Total Pain & Suffering Damages $28,000,000

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